Case 4:07-cv-05944-JST Document 2849-1 Filed 09/12/14 Page 1 of 16

EXHIBIT 1
Case 4:07-cv-05944-JST Document 2849-1 Filed 09/12/14 Page 2 of 16

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July 28, 2014

Hon. Vaughn R. Walker (Ret.)

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Inre Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917, Master Case No.

3:07-cv-05944-SC

Dear Judge Walker:

Plaintiffs’ seek here to compel production of certain responsive

documents from Thomson SA that are located in France and for Thomson SA to produce
a competent 30(b)(6) deposition witness educated on the basis of information residing in
France. Thomson SA, a known participant in a worldwide conspiracy to fix the prices of

Plaintiffs as used herein refers to all Direct Action Plaintiffs (except Dell and

CompuCom, which have not named Thomson SA as a defendant).
PAUL,

Case 4:07-cv-05944-JST Document 2849-1 Filed 09/12/14 Page 3 of 16
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Hon. Vaughn R. Walker 2

CRTs, is withholding documents and testimony on the basis of a rarely enforced French
“Blocking Statute” designed specifically to frustrate U.S. discovery efforts.” Numerous
courts have rejected Thomson’s position and this one should too.

Background. In December 2012, the European Commission fined
Thomson SA millions of Euros for participating in what the EC referred to as one of the
most organized global cartels it had ever observed, to fix the price for color picture tubes.
After months and months of litigation, Sharp successfully brought Thomson SA and its
U.S. subsidiary, Thomson Consumer, into this case on March 13, 2014. At that time, the
Court ruled that Sharp had established personal jurisdiction over Thomson SA by
demonstrating that it specifically participated in anticompetitive conduct aimed at the
U.S. CRT industry. Thereafter, numerous other plaintiffs also sued Thomson SA and
Thomson Consumer.

As of April 29, 2014 — a mere 129 days from the September 5, 2014 fact
discovery deadline — neither Thomson SA nor its U.S. subsidiary had produced a single
document in response to a discovery request in this case.> Nonetheless, Thomson lobbied
to be placed on the same case schedule as other defendants, which meant plaintiffs’
experts had to opine on Thomson’s liability and damages with scarcely any discovery
from Thomson. As part of this arrangement, Thomson had committed that it would
produce its documents in short order and that it would specifically seek to cooperate with
plaintiffs with respect to facilitating discovery from France — an issue that the plaintiffs
had raised affirmatively. Eager themselves to proceed with a prompt trial — so long as
they were not getting shortchanged in discovery — plaintiffs stipulated to add Thomson
SA and Thomson Consumer to the current case schedule on the strength of Thomson’s
representation that discovery would be prompt and efficient. Dkt. No. 2550. This
stipulation memorialized Thomson’s representations that it would make “best efforts to
make documents and witnesses available . . . if legally possible, without resort to Hague
Convention procedures, as soon as is reasonably possible ....” Jd. at 4.

It did not take long for Thomson to change its tune on its French
documents. After getting access to plaintiffs’ full complement of expert materials,
counsel for Thomson took the position that it was barred from producing a single
document in France due to the French Blocking Statute. (It appears that the basis for this
position is, in part, a March 2008 letter from the Ministry of French Foreign Affairs,
which was specifically elicited by Thomson’s counsel in February 2008, in connection
with discovery requests from this very MDL.) Ex. 1 (July 22 letter from counsel for
Thomson SA). As a result, counsel for Thomson SA has not even familiarized itself with
the documents located in France. To wit, as of July 22, it could not make a representation
to counsel for Sharp regarding how many responsive documents there were in France or
the extent to which they were duplicative of materials in the United States. Jd.

* Law No. 68-678 of 27 July 1968, amended by Law No. 80-538.

3 Thomson had produced some limited transactional data, pursuant to subpoena.
PAUL,

Case 4:07-cv-05944-JST Document 2849-1 Filed 09/12/14 Page 4 of 16

WEISS, RIFRKIND, WHARTON & GARRISON LLP

Hon. Vaughn R. Walker 3

Furthermore, Thomson SA has taken the position that it will only provide
a 30(b)(6) witness to testify about any information not barred by the French Blocking
Statute. Jd. To the extent that Thomson SA purports that the statute prevents the
disclosure of any “information of an economic, commercial or technical nature,” the
testimony of such a witness would be meaningless.

Counsel for plaintiffs met and conferred with Thomson SA about their
refusal to produce documents or information from France and are at impasse. We thus
request an order compelling Thomson SA to produce a competent 30(b)(6) witness and
documents regarding four basic categories of information, tailored to plaintiffs’ most
pressing needs in the litigation. Those are, specifically, documents and testimony that:

(1) relate to communications or meetings between Thomson SA and
competitors;*

(2) relate to the Court’s general or specific personal jurisdiction over
Thomson SAD

(3) relate to the disposition of Thomson SA’s CRT business;° or

(4) were produced to the European Commission in the course of its
investigation of a global CRT conspiracy.’

Each of these categories of documents is crucial to the plaintiffs’ ability to
demonstrate Thomson’s role in the CRT conspiracy and the Court’s jurisdiction over
Thomson SA.

I. The Federal Rules Require Thomson SA to Produce Relevant, Responsive
Documents and a Competent 30(b)(6) Witness

The materials plaintiffs seek are properly discoverable under the generous
standards of Rule 26. Fed. R. Civ. P. 26(b)(1) (“Parties may obtain discovery for any
nonprivileged matter that is relevant to any party’s claim or defense... .”).°

“ DAPs’ First Set of Requests for Production to Thomson SA (“Requests”) Nos. 3-5:

Notice of Deposition of Thomson SA Pursuant to Fed. R. Civ. P. 30(b)(6) (“Notice”)
Nos. |, 2, 5, 6, 9.

5 Requests Nos. 36-37, 46-60; Notice Nos. 13, 14, 20, 21, 24, 25, 31.
6 Requests Nos. 33, 35; Notice Nos. 34, 35.

Requests No. 42. While this request also asked for production of documents to
Thomson SA from the European Commission, plaintiffs do not seek to compel
production of those documents at this time. This motion seeks only those documents that
Thomson SA produced to the European Commission. Notice No. 4.
Case 4:07-cv-05944-JST Document 2849-1 Filed 09/12/14 Page 5 of 16

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Hon. Vaughn R. Walker 4

Plaintiffs seek here production of two categories of information relating
specifically to the substance of their antitrust claims: (1) documents that Thomson
produced to the European Commission in connection with its investigation of the CRT
conspiracy; and (2) documents relating to communications and meetings between
Thomson SA and other members of the conspiracy. Courts regularly hold these types of
documents to be relevant in antitrust cases like this one. See In re Urethane, 261 F.R.D.
at 574-75 (compelling production of documents “relating to meetings or communications
with any of the other defendants” over relevance and overbreadth objections). Other
defendants have already produced any such documents that they have located, in their
possession. See, e.g., Samsung SDI’s Second Supplemental Responses to Direct
Plaintiffs’ First Set of Interrogatories, Nos. 4 and 5, Response No. 5.

Additionally, plaintiffs seek information showing the relationship between
Thomson SA and Thomson Consumer. This information is discoverable under the
Federal Rules of Civil Procedure because it is relevant to any defense that Thomson SA
plans to raise regarding the Court’s jurisdiction over Thomson SA. In particular, the
information sought is relevant to the extent Thomson SA was related to or controlled
Thomson Consumer and/or to the extent that Thomson SA acted through Thomson
Consumer in the United States, including whether and how Thomson SA personnel acted
in the United States. The requested categories of documents are relevant to rebut any
arguments that Thomson SA did not have sufficient minimum contacts within the United
States for the court to exercise general or specific personal jurisdiction.’

Finally, plaintiffs seek information regarding the disposition of Thomson
SA’s business to its successor — including Thomson SA’s retention of an ownership
interest in that successor. This information bears directly on Thomson SA’s defense that

8 Broad discovery is “particularly appropriate” in antitrust cases because “‘broad

discovery may be needed to uncover evidence of invidious design, pattern, or intent.”” Jn
re Urethane Litig., 261 F.R.D. 570, 573 (D. Kan. 2009) (quoting B-S Steel of Kan., Inc.
v. Tex. Indus., Inc., No. 01-2410, 2003 WL 21939019, at *3 (D. Kan. July 22, 2003)); In
re Auto. Refinishing Paint Antitrust Litig., No. MDL—1426, 2004 U.S. Dist. Lexis 29160,
at *8 (E.D. Pa. Oct. 29, 2004) (“Broad discovery is permitted because direct evidence of
an anticompetitive conspiracy is often difficult to obtain, and the existence of a
conspiracy frequently can be established only through circumstantial evidence, such as
business documents and other records”).

? In its Answer to Sharp’s First Amended Complaint, Thomson SA states that

plaintiffs’ claims should be dismissed “because this Court lacks personal jurisdiction over
Thomson SA.” Answer of Thomson SA to Sharp’s First Amended Complaint at 17,
Sharp Electronics Corporation, et al. v. Technicolor SA, et al., 13-cv-01173 (Dkt. No.
114). If Thomson SA concedes that this court has personal jurisdiction over it, then the
requested documents are unnecessary; however, to the extent that Thomson SA intends to
rely on a jurisdictional defense based on materials in the record, these materials are
clearly discoverable under Federal Rule of Civil Procedure 26.
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Case 4:07-cv-05944-JST Document 2849-1 Filed 09/12/14 Page 6 of 16

WEISS, RIFKIND, WHARTON & GARRISON LLP

Hon. Vaughn R. Walker 5

it withdrew from and did not fraudulently conceal the existence of this massive global
conspiracy. See Dkt. 2440 at 19-22 (rejecting Thomson SA’s arguments that it had
withdrawn from the conspiracy and did not fraudulently conceal the conspiracy); Jn re
Rubber Chemicals Antitrust Litig., 504 F. Supp. 2d 777, 788 n.9 (N.D. Cal. 2007) (stating
that fraudulent concealment is best addressed at the summary judgment stage).

As with the documents sought by plaintiffs, Fed. R. Civ. P. 30(b)(6)
provides that a deposition notice may name a corporation as a deponent and that “named
organization must designate one or more” individuals to competently testify as to
“information known or reasonably known to the organization.” Fed. R. Civ. P. 30(b)(6).
Thomson SA’s representation that its 30(b)(6) will not testify as to any “economic,
commercial, or technical” information in France is a dereliction of its duty to provide an
educated 30(b)(6) witness. See Ex. 1 (July 22 letter from counsel for Thomson SA).

i. Foreign Law Does Not Override Thomson SA’s Discovery Obligations

Thomson SA has taken the position that the French Blocking Statute
prevents it from producing responsive documents located in France or permitting
testimony about information originating in France, and that, in order to get any such
documents or testimony, the plaintiffs must seek redress under the Convention on the
Taking of Evidence Abroad in Civil and Commercial Matters (“Hague Convention”).
Courts have rejected this argument time and again. See, e.g., In re Air Cargo Shipping
Sves. Antitrust Litig., 278 F.R.D. 51, 55 (E.D.N.Y. 2010) (granting a motion to compel
production of documents despite French Blocking Statute); In re Aircrash Disaster Near
Roselawn, Ind. Oct. 31, 1994, 172 F.R.D. 295, 310 (N.D. II. 1997) (same). This one
should too. Foreign companies that subject themselves to personal jurisdiction in the
United States by targeting United States consumers for price-fixing should not be entitled
to special treatment because they are from a country that has passed laws designed to
interfere with appropriate U.S. litigation.

As a threshold matter, Thomson bears the burden of demonstrating that
Hague Convention procedures should supplant the Federal Rules of Civil Procedure. See,
e.g., Auto. Refinishing Paint Antitrust Litig., 358 F.3d 288, 300, 305 (3d Cir. 2004);
Schindler Elevator Corp. v. Otis Elevator Co., 657 F. Supp. 2d 525, 529 (D.N.J. 2009);
In re Vitamins Antitrust Litig., 120 F. Supp. 2d 45, 51 (D.D.C. 2000) (“most courts have
placed this burden on the party seeking to require first-use of the Convention”); Valois of
Am., Inc. v. Risdon Corp., 183 F.R.D. 344, 346 (D. Conn. 1997); Doster v. Schenk A.G.,
141 F.R.D. 50, 51-52 (M.D.N.C.1991) (“[I]t is more practical, if not logical, to place the
burden of persuasion on the proponent of using the Hague Convention.”). It has not —
and cannot — do so here.

Of course, the mere existence of the Hague Convention procedures does
not “require American courts to engraft a rule of first resort onto the Hague Convention.”
Société Nationale Industrielle Aérospatiale v. United States District Court for the
Southern District of Iowa, 482 U.S. 522, 544 n.29 (1987). Instead, courts facing conflict
PAUL,

Case 4:07-cv-05944-JST Document 2849-1 Filed 09/12/14 Page 7 of 16

WEISS, RIFRKIND, WHARTON @ GARRISON LLP

Hon. Vaughn R. Walker 6

between the discovery obligations of Rule 26 and foreign law apply the five-factor test
set forth in Aérospatiale to determine which procedures govern, which examines:

(1) The importance to the .. . litigation of the documents or
other information requested; (2) the degree of specificity of
the request; (3) whether the information originated in the
United States; (4) the availability of alternative means of
securing the information; and (5) the extent to which
noncompliance with the request would undermine
important interests of the United States, or compliance with
the request would undermine important interests of the state
where the information is located.

Aérospatiale, 482 U.S. at 544 n.28. The third factor is not relevant here, because Sharp is
only seeking materials that are not already in the United States. All other factors weigh
heavily in favor of compelling Thomson SA to produce responsive documents and
testimony under U.S. law and procedure.

Prong 1: Plaintiffs have requested only information central to their
case. Where, as here, “information and testimony sought by plaintiffs are highly relevant
and important to the claims and defenses in th[e] action . . . this first factor weighs
heavily in [movant’s] favor.” Strauss v. Credit Lyonnais, S.A., 249 F.R.D. 429, 440
(E.D.N.Y. 2008). As noted above, plaintiffs cannot thoroughly prosecute their antitrust
claims against Thomson SA without the information that they have requested. First,
documents reflecting or relating to communications or meetings between Thomson SA
and other CRT manufacturers (and testimony on the same subject) bear directly on
Thomson SA’s liability for harm plaintiffs suffered as a result of the conspiracy.
Plaintiffs have alleged that Thomson SA participated in a global CRT conspiracy by
meeting and/or communicating with competitors. Although plaintiffs know about many
such meetings and communications from documents produced by other defendants, they
cannot be certain that their information is complete, because, for example, many
documents bore instructions to “destroy after reading.” E.g., TSB-CRT-00041746,
MTPD-0410018.

Second, documents and information relating to Thomson SA’s
relationship with Thomson Consumer is crucial should Thomson SA again seek to argue
that the Court lacks personal jurisdiction over it. Without discovery of documents from
Thomson SA regarding its relationship with Thomson Consumer and the U.S. market,
plaintiffs’ ability to demonstrate the Court’s jurisdiction over Thomson SA would be
unfairly restricted.

Third, documents and information regarding Thomson’s disposition of its
CRT business is critical. Thomson SA sold its CRT business in 2005 to an Indian
company called Videocon; that company — though properly served by Sharp — has
defaulted and has not produced any discovery. Its U.S. CRT business was sold to
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Case 4:07-cv-05944-JST Document 2849-1 Filed 09/12/14 Page 8 of 16
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Hon. Vaughn R. Walker 7

Technologies Displays Americas — a company that has since exited the CRT business
entirely and whose entire production in this case totaled 56 documents.

And fourth, documents and information that Thomson SA produced to the
European Commission relates to the same CRT actors and conduct alleged in this case.
See Ex. 2 (Summary of European Commission decision); Jn re Payment Card
Interchange, No. 05-MD-1720 (JG)(JO), 2010 WL 3420517 at *5 (E.D.N.Y. Aug. 27,
2010) (finding documents from a European Commission investigation “plainly relevant”
to U.S. antitrust claims); Jn re Air Cargo, 278 F.R.D. at 52 (finding that documents
produced during a government investigation were likely to “prove to be important to the
prosecution of the plaintiffs’ claims”).

Accordingly, this first factor weighs heavily in favor of production.

Prong 2: Plaintiffs request specific information. We seek only
documents and testimony related to four specific categories: (1) Thomson SA’s meetings
with competitors regarding CRTs, (2) facts related to personal jurisdiction over Thomson
SA, (3) the disposition of Thomson SA’s CRT business, and (4) Thomson SA’s
production to the European Commission. Courts have held that each of these categories
is adequately narrow such that production should be compelled. See In re Rubber
Chemicals Antitrust Litig., 486 F. Supp. 2d 1078, 1080 (N.D. Cal. 2007) (holding that a
request for documents related to investigations by foreign bodies was sufficiently
specific); Credit Lyonnais, 249 F.R.D. at 441 (holding that “[i]nformation [necessary] to
establish liability” was narrowly tailored and specific); Synthes (U.S.A.) v. G.M. dos Reis
Jr. Ind. Com. De Equip. Medico, No. 07-CV-309-L, 2008 WL 81111, at *5 (S.D. Cal.
Jan. 8, 2008) (holding that jurisdictional discovery was adequately narrow and even less
intrusive than merits discovery). Accordingly, this factor weighs in favor of compelled
production.

Prong 4: Alternative means of acquiring the information are not
feasible. \t is well understood that in antitrust cases such as this, “the proof is largely in
the hands of the alleged conspirators.” Poller v. CBS, 368 U.S. 464, 473 (1962).
Plaintiffs therefore have no practical means of acquiring the information they require to
prosecute their claims against Thomson SA except through the procedures set forth in
Rule 26.

With the fast-approaching discovery deadline of September 5, the Hague
Convention procedures are effectively unavailable to plaintiffs as an alternative means.
As courts have recognized, “the outcome of a request pursuant to the Convention is by no
means certain, and making the request will undeniably result in delays of unknown, and
perhaps considerable, duration.” Jn re Air Cargo, 278 F.R.D. at 53; see also In re
Aircrash Disaster, 172 F.R.D. at 310 (describing Hague Convention procedures as “an
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Case 4:07-cv-05944-JST Document 2849-1 Filed 09/12/14 Page 9 of 16

WEISS, RIFRIND, WHARTON &@ GARRISON LLP

Hon. Vaughn R. Walker 8

unnecessary, complicated, time consuming, and expensive means of discovery, thus
thwarting the interests of our court system.”).!°

Prong 5: Enforcing U.S. antitrust laws against a known conspirator
outweighs any legitimate purpose of the Blocking Statute. The Supreme Court has
observed that enforcement of antitrust laws is of “fundamental importance to American
democratic capitalism.” Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473
US. 614, 634 (1985). Civil antitrust cases brought by private litigants are a “critical tool
for encouraging compliance with the country’s antitrust laws.” Jn re Air Cargo, 278
F.R.D. at 54. Plaintiffs’ effective prosecution of their antitrust claims, therefore, reflect
significant U.S. interests.

The Blocking Statute, on the other hand, has been described by courts as a
means of providing French citizens with “tactical weapons and bargaining chips in
foreign courts.” Bodner v. Banque Paribas, 202 F.R.D. 370, 375 (E.D.N.Y. 2000).
Accordingly, “{c]ourts that have addressed the issue have held that the Hague Evidence
Convention is inapplicable to a French defendant resisting document production in an
American lawsuit.” Crystal Cruises, Inc. v. Rolls-Royce PLC, No. 10-24607, 2011 WL
11555506, at *1 (S.D. Fla. Nov. 8, 2011). And the fact that Thomson SA appears to have
gratuitously elicited a letter from the French authorities does not suggest that they have
discharged any burden of showing that French law should supplant U.S. law regarding
discovery here. The court in Strauss v. Credit Lyonnais, S.A., 249 F.R.D. 429 (E.D.N.Y.
2008), examined and rejected a similar letter. It commented that, like here, the letter
from the French authority did “little more than generally state its interest in sovereignty
and... that French civil and criminal laws prohibit [defendants] from disclosing at least
some of the information in dispute here.” Jd. at 448. It thus ordered that the documents
be produced from France without recourse to the Hague Convention. /d. at 456. The
same result is appropriate here. Here, the French Blocking Statute serves an even more
insidious purpose, since the relevant regulators in Europe have already concluded that
Thomson SA participated in a worldwide conspiracy to fix the prices of CRTs.

'° Conscious of the upcoming discovery deadline and Thomson SA’s position that the
Hague Convention governs Direct Action Plaintiffs’ Requests for Production of
Documents, plaintiffs have alternatively moved this Court for an order permitting the
commencement of Hague Procedures to acquire the evidence necessary to effectively
prosecute its case against Thomson SA. That request is without prejudice to this
positions taken here that the Federal Rules of Civil Procedure should apply, and with full
knowledge that resorting to the Hague Procedures “is by no means certain, and making
the request will undeniably result in delays of unknown, and perhaps considerable,
duration.” Jn re Air Cargo, 278 F.R.D. at 53. Out of an abundance of caution, however,
plaintiffs have made that alternative request.
Case 4:07-cv-05944-JST Document 2849-1 Filed 09/12/14 Page 10 of 16
PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP

Hon. Vaughn R. Walker 9

Conclusion. Fact discovery is set to close in this case on September 5,
2014. The time for playing games must end. For the reasons explained above, plaintiffs
respectfully request that the Court order Thomson SA to produce a competent 30(b)(6)
witness that will testify as to topics 1, 2, 4, 5, 6, 9, 13, 14, 20, 21, 24, 25, 31, 34, and 35;
and also produce all documents in France located based on reasonable search, responsive
to requests 3-5, 33, 35-37, 42, and 46-60.

Very truly yours,

/s/ Craig A, Benson

Craig A. Benson

Counsel for Sharp Electronics Corporation
and Sharp Electronics Manufacturing
Company of America, Inc. on behalf of Direct
Action Plaintiffs
Case 4:07-cv-05944-JST Document 2849-1 Filed 09/12/14 Page 11 of 16

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July 22, 2014

VIA ELECTRONIC MAIL

Mr. Craig Benson

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chenson@paulweiss.com

Re: Inve: CRT Antitrust Litigation, 3:07-cv-5944-SC MDL No. 1917 (N.D. Cal.).
Dear Mr. Benson:

| write in response to your July 17, 2014 letter regarding the Rule 30(b}(6) deposition of the
Thomson SA and your July 16, 2014 letter summarizing our July 15, 2014 conference call to discuss
discovery issues including Thomson Consumer’s and Thomson SA’s responses to the Direct Action
Plaintiffs’ first and second sets of requests for production.

With respect to your July 16, 2014 letter, generally, with the exception of the last sentence on the
first page and one comment about depositions, it accurately memorializes our July 15, 2014 discussions.
To clarify, I did not speculate that the universe of responsive documents in France was very small.
Instead, I offered hopeful speculation that the difference between the production we have made in this
litigation and the production made to the European Commission is not very significant. As we have
stated, we are undertaking a comparison of these productions and will not have any definitive
information to share with you on that until the analysis is complete. | also am hopeful that the universe
of additional, responsive CRT-related documents existing in France is few to none because those
existing in France were reviewed to identify documents responsive to the DOJ and European
Commission document requests.

For one additional point of clarification, we believe we will be able to make James Hanrahan,
Alex Hepburn and Jack Brunk available for deposition before the close of fact discovery on September
5, 2014, but they are former employees and balancing their respective schedules is challenging. We
hope to have dates to offer you for them and Jackie Taylor-Boggs soon.

With respect to the question in your July 17, 2014 letter regarding the scope of testimony

Thomson SA’s Rule 30(b)(6) representative, Ms. Meggan Ehret, may provide at a deposition, Thomson
SA states that subject to Hs objections to the Rule 30(b)(6) deposition notice you have served upon it,

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Case 4:07-cv-05944-JST Document 2849-1 Filed 09/12/14 Page 12 of 16

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Mr. Craig Benson - July 22, 2014

and consistent with its obligations under French law and the Federal Rules of Civil Procedure, Ms. Ehret
will be prepared to testify about information known or reasonably available to the company provided
that the disclosure of this information would not violate Loi 80-538 du 16 juillet 1980 relative a la
communication de documents et renseignements d’ordre économique, commercial ou technique a des
personnes physiques ou morales étrangeéres [Law 80-538 of July 16, 1980 relating to the disclosure of
documents and information of an economic, commercial or technical nature to foreign natural and legal
persons], JOURNAL OFFICIEL DE LA REPUBLIQUE FRANCAISE [J.O.] [OFFICIAL GAZETTE OF FRANCE], July
17, 1980, p. 1799; see also Cour de cassation, Criminal Chamber, Dec. 12, 2007, no. 07-83228,
Christopher X; Loi Informatique et Libertes Act N°78-17 of January 6, 1978 [Law No. 78-17 of 6
January | 1978 on data processing, data files and individual libertics]. Under Article 1 bis of this statute,
“it is prohibited for any person to request, seek or disclose, in writing, orally or otherwise, economic,
commercial, industrial. financial or technical documents or information leading to the constitution of
evidence with a view to foreign judicial or administrative proceedings or in connection therewith.” As
the plain text of the statute makes clear, Thomson SA would violate French law if it were to “disclose”
“economic, commercial, industrial, financial or technical documents or information” that is located in
France in a Rule 30(b)(6) deposition. And as the March 7, 2008 letter from the French Ministry of
Foreign Justice to Thomson SA makes clear, Thomson SA’s compliance with this statute is mandatory.
Accordingly, if Plaintiffs would like to discover this information, they must proceed through the Hague
Convention,

Lastly, and for the sake of clarity, we have been working exceptionally hard to stay on the same
trial schedule as the other defendants and do not believe the Ministry of Foreign Justice’s directive that
Thomson SA’s compliance with the Law of July 16, 1980 is mandatory in any way impacts our ability
to do so. We have produced a substantial number of documents that were previously located in France,
but ended up in the United States and overlap with documents Thomson SA produced to the European
Commission. Subject to Thomson SA’s objections to the Rule 30(b)(6) deposition notice you have
served upon it, Ms. Ehret will be prepared to answer questions regarding these documents and other
information located in the United States at Thomson SA’s Rule 30(b)(6) deposition. And we have
confirmed that Ms. Ehret could be available for the 30(b)(6) depositions on August 14 and 15 (if a 2"
day is needed) or August 20 and 21 (if a 2° day is needed). Her schedule gets filled quickly, so please
let us know as soon as possible what dates you select.

Sincerely,
Wath. bf Top.

Kathy L. Osborn

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Case 4:07-cv-05944-JST Document 2849-1 Filed 09/12/14 Page 13 of 16

Official Journal of the European Union

C 303/13

(1)

Summary of Commission Decision

of 5 December 2012

relating to a proceeding under Article 101 of the Treaty on the Functioning of the European Union
and Article 53 of the EEA Agreement

(Case COMP/39.437 — TV and computer monitor tubes)
(notified under document C(2012) 8839)

(Only the English text is authentic)

(Text with EEA relevance)

(2013/C 303/07)

On 5 December 2012, the Commission adopted a decision relating to a proceeding under Article 101 of the Treaty on
the Functioning of the European Union and Article 53 of the EEA Agreement. In accordance with the provisions of
Article 30 of Council Regulation (EC) No 1/2003 ('), the Commission herewith publishes the names of the parties
and the main content of the decision, including any penalties imposed, having regard to the legitimate interest of

undertakings in the protection of their business secrets.

1. INTRODUCTION

On 5 December 2012, the European Commission adopted
a decision relating to two separate infringements of
Article 101 of the Treaty on the Functioning of the
European Union and Article 53 of the EEA Agreement
in the sector of cathode ray tubes (‘CRT’). By these
infringements, the addressees of the decision colluded on
prices, market shares, customers and output as well as
exchanged confidential information and monitored imple-
mentation of the collusive arrangements.

The decision was addressed to the following legal entities:
Chunghwa Picture Tubes Co., Ltd, Chunghwa Picture
Tubes (Malaysia) Sdn. Bhd., CPTF Optronics Co., Ltd.
(Chunghwa); Samsung SDI Co., Ltd, Samsung SDI

(Malaysia) Berhad, Samsung SDI Germany GmbH
(Samsung SDI’); Koninklijke Philips Electronics NV
(Philips); LG Electronics, Inc (LGE); Panasonic

Corporation (‘Panasonic’); Toshiba Corporation (‘Toshiba’);
MT Picture Display Co., Ltd. ((MTPD’); Technicolor SA
(Technicolor).

2. CASE DESCRIPTION
2.1. The product concerned

The product concerned, CRT, is an evacuated glass
envelope containing an electron gun and a fluorescent
screen. There are two distinct types of CRTs that were
covered respectively in the two separate infringements: (i)
colour display tubes (CDTs) used in computer monitors
and (ii) colour picture tubes (CPTs) used for colour televi-
sions.

Since early 2000's, the CRT technology was gradually
replaced by alternative techniques such as LCD and
plasma displays.

() OJ L 1, 4.1.2003, p. 1.

2.2. Procedure

(5) Following the immunity application of Chunghwa under

the terms of the 2006 Leniency Notice, the Commission
carried out inspections in November 2007. Subsequently,
the Commission received leniency applications from
Samsung SDI, Panasonic (together with MTPD), Philips
and Technicolor. In addition, several requests for
information were addressed to the parties.

On 23 November 2009, the Commission adopted a
statement of objections. An oral hearing was held on 26
and 27 May 2010. On 2 December 2010, the
Commission issued a letter of facts to Panasonic, MTPD
and Toshiba regarding the decisive influence of parent
companies over MTPD.

On 1 June 2012, the Commission adopted supplementary
statements of objections addressed to Philips and to LGE
concerning liability. An oral hearing of these parties was
held on 6 September 2012. On 5 July 2012 the
Commission issued a letter of facts to all the addressees
of the 23 November 2009 statement of objections
regarding participants in the cartel contacts from Philips
group, LGE group and the Philips/LGE joint venture group,

The Advisory Committee on restrictive practices and
dominant positions issued a favourable opinion on
19 November 2012 and 3 December 2012.

2.3. Summary of the infringements

Overall, the CDT cartel lasted from October 1996 until
March 2006 and the CPT cartel from December 1997
until November 2006.
C 303/14

Case 4:07-cv-05944-JST Document 2849-1 Filed 09/12/14 Page 14 of 16

Official Journal of the European Union

19.10.2013

(10) The addressees of the decision for the CDT cartel fixed

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prices, allocated market shares and customers and
restricted output. The addressees of the decision for the
CPT cartel fixed prices, allocated market shares and
restricted output. The price fixing, market sharing and
output restrictions were also subject to regular monitoring
in both cartels and, in the case of the CDT cartel, at times
the capacity restrictions were also audited with plant visits.
The addressees also engaged in exchanges of commercially
sensitive information in both cartels. In the CPT cartel, the
addressees also attempted to maintain a price gap between
identical products marketed in Europe and Asia.

The two cartels were highly organised, There were regular
multilateral meetings involving different corporate levels of
the addressees up to the executive level. The multilateral
meetings were complemented by bilateral meetings and
other exchanges. Originally, CDTs and CPTs were
discussed in the same cartel contacts, but soon a
division between CDT and CPT related cartel contacts
emerged. Focus of the cartel contacts evolved over time
following the development in the sector for example as the
emphasis in the demand was moving to larger dimension
CRTs.

In the CDT cartel the cartel, contacts took place mainly in
Asia whereas in the CPT cartel, there were cartel contacts
both in Asia and in Europe. As of 1999, the CPT cartel
contacts started to be organised more frequently also in
Europe to complement the cartel meetings that had started
in Asia. In the CPT cartel the arrangements reached in the
Asian and European cartel, contacts were interconnected.
The European meetings focused more specifically on
Europe and the Asian cartel contacts covered more
clearly the worldwide level. However, cartel contacts
concerning Europe clearly took place both in Asia and
in Europe.

2.4. Addressees

The following undertakings infringed Article 101 of the
Treaty and Article 53 of the EEA Agreement by partici-
pating, during the periods indicated, in a single and
continuous complex of agreements and concerted
practices in the sector of colour display tubes used in
computer monitors:

(a) Chunghwa Picture Tubes Co., Ltd., Chunghwa Picture
Tubes (Malaysia) Sdn. Bhd., CPTF Optronics Co., Ltd.,
from 24 October 1996 until 14 March 2006:

(b) Samsung SDI Co., Ltd, Samsung SDI (Malaysia)
Berhad, from 23 November 1996 until 14 March
2006;

(c) Koninklijke Philips Electronics NV, from 28 January
1997 until 30 January 2006;

(d) LG Electronics, Inc., from 24 October 1996 until
30 January 2006.

(14) The following undertakings infringed Article 101 of the

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Treaty and Article 53 of the EEA Agreement by partici-
pating, during the periods indicated, in a single and
continuous complex of agreements and _ concerted
practices in the sector of colour picture tubes used for
colour televisions:

(a) Chunghwa Picture Tubes Co., Ltd., Chunghwa Picture
Tubes (Malaysia) Sdn. Bhd., CPTF Optronics Co., Ltd.,
from 3 December 1997 until 6 December 2005;

(b) Samsung SDI Co., Ltd. Samsung SDI (Malaysia)
Berhad, Samsung SDI Germany GmbH, from
3 December 1997 until 15 November 2006;

(c) Panasonic Corporation, from 15 July 1999 until
12 June 2006;

(d) Toshiba Corporation, from 16 May 2000 until
12 June 2006;

(e) MT Picture Display Co., Ltd., from 1 April 2003 until
12 June 2006;

(f} Koninklijke Philips Electronics NV, from 21 September
1999 until 30 January 2006;

(g) LG Electronics, Inc., from 3 December 1997 until
30 January 2006;

March 1999 until

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Technicolor SA, from 25
19 September 2005.

2.5. Remedies

The decision applies the 2006 Guidelines on fines (').

2.5.1, Basic amount of the fine

The basic amount of the fine to be imposed on the under-
takings concerned is to be set by reference to the relevant
value of the undertakings’ sales of goods or services to
which the infringement related in the relevant geographic
area in the EEA.

For the purpose of establishing the value of sales in this
case, the relevant EEA turnover consists of those sales
where the first ‘real’ sale of CDT or CPT — as such or
integrated in a final computer or colour television product
— was made into the EEA during the period of the
infringement. This includes both direct EEA sales (that is
CDTs or CPTs directly sold to customers in the EEA) and
direct EEA sales through transformed products (that is
CDTs or CPTs incorporated intra-group into a final
computer monitor or colour television and subsequently
sold to customers in the EEA) by one of the addressees of
the decision or their joint venture. Sales of CDTs and CPTs
to intra-group customers were part of the cartel

() O} C 210, 1.9.2006, p. 2.
19.10.2013

Case 4:07-cv-05944-JST Document 2849-1 Filed 09/12/14 Page 15 of 16

Official Journal of the European Union

C 303/15

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discussions in this case and are therefore included in the
value of sales. For the calculation of the respective value of
sales, the value of the CDTs and CPTs are included in so
far as the transformed products are sold by the cartelist in
the EEA to unrelated customers.

In order to identify the relevant value of sales, the
Commission takes into account sales of products which
were delivered in the EEA. By doing this, a strong nexus
with the EEA is established, thereby reflecting the
economic importance of the infringement in the EEA.

In this case, it is appropriate to take the average annual
value of sales (based on the actual sales over the entire
duration of the infringement) as the basis for the ‘value of
sales’ calculation, having regard to the significant decrease
of the sales for all undertakings between the beginning and
the end of the infringement and to the considerable
variation of the value of sales from one year to the next.

Considering the nature of the infringements, their
geographical scope and their implementation, the
percentage for the variable amount of the fine and the
additional amount (‘entry fee’) is set at 19 % of the value
of sales for the CDT cartel and 18 % of the value of sales
for the CPT cartel for all the undertakings addressed.

LGE participated directly and through subsidiaries and
Philips through subsidiaries in the CPT and CDT cartels
until the end of June 2001, and thereafter both continued
participation through the Philips/LGE joint venture.
Panasonic participated directly and through subsidiaries
and Toshiba directly in the CPT cartel until the end of
March 2003, and thereafter both continued participation
through the joint venture MTPD. Consequently, separate
additional amounts are imposed only on the respective
joint venture parent companies, Philips, LGE, Panasonic
and Toshiba.

In this case, the Commission takes into account the actual
duration of participation in the infringements of the
undertakings involved in this case on a rounded down
monthly and pro rata basis to take fully into account the
duration of the participation for each undertaking, which
leads to the following multipliers for duration of partici-
pation:

A. CDT cartel
(a) Chunghwa Picture Tubes Co. Ltd, Chunghwa

Picture Tubes (Malaysia) Sdn. Bhd. and CPTF
Optronics Co., Ltd., jointly and severally — 9,33;

(b) Samsung SDI Co., Ltd, and Samsung SDI (Malaysia)
Berhad, jointly and severally — 9,25;

c) Koninklijke Philips Electronics NV, for the period
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prior to the Philips/LGE joint venture — 4,41;

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(d) LG Electronics, Inc., for the period prior to the
Philips/LGE joint venture — 4,66;

(e) Koninklijke Philips Electronics NV and LG Elec-
tronics, Inc, for the period of the Philips/LGE
joint venture — 4,5.

B. CPT cartel

(a) Chunghwa Picture Tubes Co., Ltd, Chunghwa
Picture Tubes (Malaysia) Sdn. Bhd. and CPTF
Optronics Co., Ltd., jointly and severally — 8;

(b) Samsung SDI Co., Ltd, Samsung SDI Germany
GmbH, and Samsung SDI (Malaysia) Berhad,
jointly and severally — 8,91;

(c) Koninklijke Philips Electronics NV, for the period
prior to the Philips/LGE joint venture — 1,75;

(d) LG Electronics, Inc., for the period prior to the
Philips/LGE joint venture — 3,5;

(e) Koninklijke Philips Electronics NV and LG Elec-
tronics, Inc, for the period of the Philips/LGE
joint venture — 4,5;

(f) Technicolor SA — 6,41;

(g) Panasonic Corporation, for the period prior to the
joint venture MTPD — 3,66;

(h) Toshiba Corporation, for the period prior to the
joint venture MTPD — 2,83;

(i) Panasonic Corporation, Toshiba Corporation and
MT Picture Display Co., Ltd, for the period of the
joint venture MTPD — 3,16.

2.5.2. Adjustments to the basic amount

There are no aggravating or mitigating circumstances in
this case.
2.5.3, Specific increase for deterrence

In this case, a deterrence multiplier of the fines to be
imposed of 1,1 is applied to Toshiba, and of 1,2 is
applied to Panasonic and MTPD.

2.5.4. Application of the 10% turnover limit

The final individual amounts of the fines are below 10 %
of the worldwide turnovers of the addressed undertakings.

2.5.5. Application of the 2006 Leniency Notice

Chunghwa was the first undertaking to submit information
and evidence meeting the conditions of point 8(a) of the
2006 Leniency Notice. The fine to be imposed was
reduced by 100 % for both CDT and CPT cartels.
Case 4:07-cv-05944-JST Document 2849-1 Filed 09/12/14 Page 16 of 16

C 303/16 Official Journal of the European Union 19.10.2013

(27) Samsung SDI is granted a 40 % reduction of the fines that
would otherwise have been imposed on it both regarding
the CDT and the CPT cartel.

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Philips is granted a 30 % reduction of the fines that would
otherwise have been imposed on it both regarding the
CDT and the CPT cartel.

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Technicolor is granted a 10 % reduction of the fines that
would otherwise have been imposed on it regarding the
CPT cartel.

(30) The Commission concluded that Panasonic and MTPD did
not qualify for a reduction of fines.

2.5.6. Inability to pay
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One undertaking invoked its inability to pay under point
35 of the 2006 Fines Guidelines. The Commission
considered this claim and carefully analysed the financial
situation of the undertaking and the specific social and
economic context. As a result of the analysis, the
Commission granted a reduction of the fine.

3. FINES IMPOSED BY THE DECISION

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For the single and continuous infringement in relation to
the sector of colour display tubes used in computer
monitors, the following fines are imposed:

(a) Chunghwa Picture Tubes Co., Ltd., Chunghwa Picture
Tubes (Malaysia) Sdn. Bhd., CPTF Optronics Co., Ltd.,
jointly and severally liable: EUR 0;

(b) Samsung SDI Co., Ltd, Samsung SDI (Malaysia)
Berhad, jointly and severally liable: EUR 69 418 000;

(c} Koninklijke Philips Electronics NV: EUR 73 185 000;

(d) LG Electronics, Inc.: EUR 116 536 000;

(e) Koninklijke Philips Electronics NV and LG Electronics,
Inc., jointly and severally liable: EUR 69 048 000.

For the single and continuous infringement in relation to
the sector of colour picture tubes used for colour televi-
sions, the following fines are imposed:

(a) Chunghwa Picture Tubes Co., Ltd., Chunghwa Picture
Tubes (Malaysia) Sdn. Bhd., CPTF Optronics Co., Ltd.,
jointly and severally liable: EUR 0;

(b) Samsung SDI Co., Ltd, Samsung SDI (Malaysia)
Berhad, Samsung SDI Germany GmbH, jointly and
severally liable: EUR 81 424 000;

(c) Koninklijke Philips Electronics NV: EUR 240 171 000;
(d) LG Electronics, Inc.: EUR 179 061 000;

(e) Koninklijke Philips Electronics NV and LG Electronics,
Inc., jointly and severally liable: EUR 322 892 000;

(f) Panasonic Corporation: EUR 157 478 000;
(g) Toshiba Corporation: EUR 28 048 000;

(h) Panasonic Corporation, Toshiba Corporation and MT
Picture Display Co., Ltd., jointly and severally liable:
EUR 86 738 000;

(i) Panasonic Corporation and MT Picture Display Co.,
Ltd., jointly and severally liable: EUR 7 885 000;

(j) Technicolor SA: EUR 38 631 000.

